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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY
______________________________
                               :
TRAVIS HEFFLEY,                :
                               :
          Plaintiff,           :    Civ. No. 17-3647 (NLH)(KMW)
                               :
     v.                        :    MEMORANDUM OPINION AND ORDER
                               :
                               :
FEDERAL BUREAU OF PRISONS      :
FCI FORT DIX, et al.,          :
                               :
          Defendants.          :
______________________________:

APPEARANCES:

Travis Heffley
17225097
Otisville
Federal Correctional Institution
Inmate Mail/Parcels
P.O. Box 1000
Otisville, Ny 10963

HILLMAN, District Judge

      WHEREAS, Plaintiff Travis Heffley filed a complaint naming

unidentified members of the Extraction Team at FCI Fort Dix as

defendants, ECF No. 1; and

      WHEREAS, the Court reviewed the complaint under 28 U.S.C. §

1915(e)(2) and concluded sua sponte dismissal was not

appropriate, ECF No. 7.      However, the Court acknowledged that

the Complaint could not be served on unknown John Doe

defendants, and thus, the Court authorized discovery pursuant to

Federal Rules of Civil Procedure 26(d) and 34(c) limited to



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discovering the identities of the John Doe members of the Fort

Dix Extraction Team.     Id.; and

      WHEREAS, the Court directed the Clerk’s Office provided

blank subpoena forms to Plaintiff and stated that “[i]f the

proposed subpoena comports with the Rules of Civil Procedure and

otherwise meets with the Court’s approval, the Court will direct

service in light of Plaintiff’s in forma pauperis status.”           ECF

No. 9 at 2; and

      WHEREAS on March 20, 2019, this Court received four AO88A

subpoenas and ordered the Marshals to serve those subpoenas, see

ECF No. 13; and

      WHEREAS, Plaintiff submitted a letter to the Court

containing a Form 583 Report of Incident with the names:

Christopher Ebinger, Gregory Dobovich, John Mathes, Kevin

Bullock, Mark Holterman, and Robert Samynek, see ECF No. 14 at

3; and

      WHEREAS, this Court ordered a notice of call for dismissal

on July 22, 2020, ECF No. 15; and

      WHEREAS, as the names of the alleged Fort Dix Extraction

Team were never substituted for the John Doe defendants, the

Court vacates the notice of call for dismissal; and

      WHEREAS, the Court will order the Clerk to substitute the

provided names for the John Doe defendants and to issue U.S.

Marshal 285 Forms to Plaintiff for service,

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      IT IS therefore on this      9th    day of November, 2020,

      ORDERED that the notice of call for dismissal, ECF No. 15,

is vacated; and it is further

      ORDERED that the complaint shall proceed; and it is further

      ORDERED that the Clerk shall substitute Christopher

Ebinger, Gregory Dobovich, John Mathes, Kevin Bullock, Mark

Holterman, and Robert Samynek for “Unknown Member Of Extraction

Team Employed By FCI Fort Dix” on the docket; and it is further

      ORDERED that the Clerk shall mail to Plaintiff a

transmittal letter explaining the procedure for completing

Unites States Marshal (“Marshal”) 285 Forms (“USM-285 Forms”);

and it is further

      ORDERED that, once the Marshal receives the USM-285 Form(s)

from Plaintiff and the Marshal so alerts the Clerk, the Clerk

shall issue summons in connection with each USM-285 Form that

has been submitted by Plaintiff, and the Marshal shall serve

summons, the Complaint and this Order to the address specified

on each USM-285 Form, with all costs of service advanced by the

United States 1; and it is further




1 Alternatively, the U.S. Marshal may notify Defendant(s) that an
action has been commenced and request that the defendant(s)
waive personal service of a summons in accordance with Fed. R.
Civ. P. 4(d).

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      ORDERED that Defendant(s) shall file and serve a responsive

pleading within the time specified by Federal Rule of Civil

Procedure 12; and it is further

      ORDERED that, pursuant to 28 U.S.C. § 1915(e)(1) and § 4(a)

of Appendix H of the Local Civil Rules, the Clerk shall notify

Plaintiff of the opportunity to apply in writing to the assigned

judge for the appointment of pro bono counsel; and it is further

      ORDERED that, if at any time prior to the filing of a

notice of appearance by Defendant(s), Plaintiff seeks the

appointment of pro bono counsel or other relief, pursuant to

Fed. R. Civ. P. 5(a) and (d), Plaintiff shall (1) serve a copy

of the application by regular mail upon each party at his last

known address and (2) file a Certificate of Service 2; and it is

finally

      ORDERED that the Clerk of the Court shall send a copy of

this Order to Plaintiff by regular U.S. mail.



                                          s/ Noel L. Hillman
At Camden, New Jersey                    NOEL L. HILLMAN, U.S.D.J.




2 After an attorney files a notice of appearance on behalf of a
Defendant, the attorney will automatically be electronically
served all documents that are filed in the case.

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